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 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-190 GEB
11
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
12                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           [PROPOSED] FINDINGS AND ORDER
13
     JOHN MICHAEL DICHIARA,                              DATE: February 12, 2016
14   REMUS ALAN KIRKPATRICK,                             TIME: 9:00 a.m.
     LAURA MARIE PEZZI,                                  COURT: Hon. Garland E. Burrell, Jr.
15   GEORGE B. LARSEN,
     MICHAEL ROMANO,
16
                                  Defendants.
17

18
                                                 STIPULATION
19
            1.      By previous order, this matter was set for status on February 12, 2016.
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            2.      By this stipulation, defendants now move to continue the status conference until May 20,
21
     2016, and to exclude time between February 12, 2016, and May 20, 2016, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes 34,000 pages of interview summaries, computer files, county recorder documents, bank
25
            and escrow documents. In addition, seven boxes of bank and escrow documents maintained in
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            paper format, and paper files taken during the execution of a search warrant have been made
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            available for defense review. All of this discovery has been either produced directly to counsel
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            and/or made available for inspection and copying.

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
                 Case 2:15-cr-00190-KJM Document 78 Filed 02/08/16 Page 2 of 4


 1                  b)     Counsel for defendants desire additional time to consult with their clients and

 2          review discovery provided.

 3                  c)     Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5          into account the exercise of due diligence.

 6                  d)     The government does not object to the continuance.

 7                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of February 12, 2016 to May 20,

12          2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16                  g)     As well, a time exclusion pursuant to Local Code T2 and 18 U.S.C. §

17          3161(h)(7)(B)(ii) is appropriate because this case is complex due to the nature of the prosecution

18          and the existence of novel questions of fact and law. The case involves seven defendants and

19          multiple entities alleged to have engaged in transactions relating to approximately 134 properties

20          nationwide. The indictment alleges a multi-step process of facilitating or attempting to facilitate

21          the sale of the properties. Understanding these alleged steps requires review of correspondence,

22          membership documents, bank records, county recorder documents, escrow documents, and bank

23          accounts.

24          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

26 must commence.
27          IT IS SO STIPULATED.

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        2
30    FINDINGS AND ORDER
              Case 2:15-cr-00190-KJM Document 78 Filed 02/08/16 Page 3 of 4

     Dated: February 5, 2016                             BENJAMIN B. WAGNER
 1                                                       United States Attorney
 2
                                                         /s/ AUDREY B. HEMESATH
 3                                                       AUDREY B. HEMESATH
                                                         Assistant United States Attorney
 4

 5

 6

 7 Dated: February 5, 2016                               /s/ Robert Wilson
                                                         ROBERT WILSON
 8
                                                         Counsel for Defendant
 9                                                       John Michael DiChiara

10
     Dated: February 5, 2016                             /s/ Bruce Locke
11                                                       BRUCE LOCKE
                                                         Counsel for Defendant
12                                                       Remus Alan Kirkpatrick
13

14 Dated: February 5, 2016                               /s/ Dustin Johnson
                                                         DUSTIN JOHNSON
15                                                       Counsel for Defendant
                                                         George B. Larsen
16

17 Dated: February 5, 2016                               /s/ Toni White
                                                         TONI WHITE
18                                                       Counsel for Defendant
19                                                       Laura Marie Pezzi

20
     Dated: February 5, 2016                             /s/ Michael Long
21                                                       MICHAEL LONG
                                                         Counsel for Defendant
22                                                       Michael Romano
23

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30    FINDINGS AND ORDER
             Case 2:15-cr-00190-KJM Document 78 Filed 02/08/16 Page 4 of 4


 1                                [PROPOSED] FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3 Dated: February 5, 2016

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   4
30   FINDINGS AND ORDER
